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             CRIMINAL CAUSE FOR STATUS CONFERENCE

BEFORE JUDGE: HURLEY, J. DATE: OCT. 21, 2005 TIME: 11;45-12:15
DOCKET NUMBER: CR-05-0051    TITLE: USA V. CADAVID, ET. AL.


DEFT. NAME: LIA PENA-CADAVID                                 DFT. #:   1
    X PRESENT, NOT PRESENT, X IN CUSTODY, ON BAIL
       ATTY FOR DEFT.: Kathleen Tomlinson for LUIS GUERRA      CJA
            PRESENT,         X NOT PRESENT                   X RET


DEFT. NAME: JESUS ROBERT MADRID                              DFT. #:       2
      PRESENT, X NOT PRESENT, X IN CUSTODY, ON BAIL
       ATTY FOR DEFT.: Kathleen Tomlinson for PETER TOMAO    X CJA
           X PRESENT,      NOT PRESENT                         RET

DEFT. NAME: PABLO VALENZUELA                   DFT. #:         3
    X PRESENT, NOT PRESENT, X IN CUSTODY, ON BAIL
       ATTY FOR DEFT.: KATHLEEN TOMLINSON                      X CJA
            PRESENT, X NOT PRESENT                              RET


DEFT. NAME: SALVADOR URBINA                          DFT. #: 4
      PRESENT, X NOT PRESENT, X IN CUSTODY, ON BAIL
       ATTY FOR DEFT.: WILLIAM KEAHON / GEORGE DUNCAN X CJA
           X PRESENT, NOT PRESENT                     RET


DEFT. NAME: JUAN CARLOS MARTINEZ-MARTINEZ      DFT. #: 5
    X PRESENT, NOT PRESENT, X IN CUSTODY, ON BAIL
  ATTY FOR DEFT.: BRUCE BARKET                         X CJA
            PRESENT, X NOT PRESENT                       RET



DEFT. NAME: JOSE LUIS ECHEVERRY                DFT. #: 6
    X PRESENT, NOT PRESENT, X IN CUSTODY, ON BAIL
       ATTY FOR DEFT.: KEVIN KEATING                   X CJA
           X PRESENT, NOT PRESENT                       RET


A.U.S.A.: BONNIE KLAPPER         DEPUTY CLERK: TRISH BEST
COURT REPORTER(S) OR ESR OPERATOR: PAUL LOMBARDI
INTERPRETER(S):    MAYA GRAY/ SPANISH INTERPRETER

X   CASE CALLED.

X SPEEDY TRIAL INFORMATION FOR DEFT(S)    1-6
     ORDER OF EXCLUDABLE DELAY ENTERED AS TO ALL DEFENDANTS- COMPLEX CASE
 CODE TYPE: X-        START DATE: 10/21/2005
                      STOP DATE:   2/14/2006

X   STATUS CONFERENCE SET FOR MARCH 3, 2006 AT 10:00 AM FOR BENCH DECISION ON
    MOTIONS AND FOR FURTHER STATUS CONFERENCE

X DEFT(S)    1-6          REMAIN IN CUSTODY.
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MOTION SCHEDULE IS AS FOLLOWS:
DEFENDANTS’ MOTIONS SHALL BE FILED BY DECEMBER 16, 2005.
THE GOVERNMENT’S RESPONSES SHALL BE FILED BY JANUARY 31,2006.
DEFENDANTS’ REPLIES SHALL BE FILED BY FEBRUARY 14, 2006.
